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                                   STATEMENT OF FACTS

        On January 6, 2021, your affiant, Christopher Keefe, was on duty and performing my
official duties as a Special Agent with the Federal Bureau of Investigation. As a Special Agent, I
am authorized by law or by a Government agency to engage in or supervise the prevention,
detention, investigation, or prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.


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        As detailed below, your affiant identified NICHOLAS BURTON REIMLER as an
individual that appeared to be inside the U.S. Capitol building on January 6, 2021, without
authority.

       Your affiant is aware of images showing a male individual dressed in a green hat, a blue
and white jacket, and wearing a white “TRUMP” flag as a cape entering the U.S. Capitol building
on January 6, 2021, as other rioters entered the building. A copy of the images is included below:




       In addition to the still images, the United States Capitol Police (USCP) identified video of
REIMLER entering the Capitol, moving through the hallways to his presence in an area of the
Capitol known as the “Crypt,” and then exiting the Capitol.




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       A copy of the image of REIMLER’s exit from the Capitol is included below:




        On January 10, 2021, the D.C. Metropolitan Police Department Tip-line received a tip from
an anonymous individual who identified REIMLER from social media posts, the tip stated “Nick
Reimler of Saint Louis, Missouri was posting on Snapchat and Facebook that he was inside of the
capital on Wednesday.” This tip was provided to your affiant.

        On January 20, 2021, FBI Tip-line received a tip from Witness 1 who identified REIMLER
from social media posts, Witness 1 wrote “Nick Reimler from St. Louis, MO, is the person pictured
in Photograph #39 from the FBI’s Capitol riots photos. He posted many times on social media
pictures of himself inside the Capitol on Jan. 6th and posted several times about going to D.C. In
the pictures attached you can see him in the exact same outfit (found on his Facebook).” A picture
from REIMLER’s Facebook page appears to show REIMLER wearing the same jacket and
turquoise hat while on a ski trip; a copy of that image can be seen below:




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        Your affiant interviewed Witness 1, who has known REIMLER for three to four years and
is friends with REIMLER on Facebook. Witness 1 knows REIMLER through a friend that had
dated REIMLER three or four years earlier. Witness 1 stated that it was “very obvious” to Witness
1 that the FBI picture was of REIMLER. For reference, a copy of the FBI’s Seeking Information
poster Photograph #39 is included below:




        Your affiant also interviewed Witness 2, another person that was friends with REIMLER
on Facebook and has known him for approximately four years through the same social circle as
Witness 1. Witness 2 stated REIMLER had posted several conservative political posts prior to the
Capitol riots and Witness 2 recalled a publicly posted Facebook conversation about REIMLER
attending the rally on January 6, 2021, and was able to provide screenshots of that conversation,
seen below:




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         Your affiant is aware of three screenshots of social media posts on Snapchat that appear
to show the user, identified as “Busta” showing the Crypt area of the Capitol building with several
rioters in the shot and the text “TOP OF THE US CAPITOL DOME” and “Lol what’s going on.”
The third screenshot was provided showing user “Busta” account information including
identifying the full account ID as “bustaareim” and a map showing the location of the U.S. Capitol
building in Washington, D.C. These images appear to be the same images referenced by the tips
from the MPD Tip-line and Witness 1. Your affiant believes the account “bustaareim” is
maintained by REIMLER and that he took the Snapchat images on January 6, 2021, while he was
in the Capitol. The screenshots are provided below:




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        U.S. Capitol Police surveillance videos provided to your affiant shows REIMLER present
in the Crypt area of the Capitol with what appears to be a cellular device in his hand, as shown
circled in red in the last image. Images taken from the USCP videos are included below:




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       Your affiant has observed another social media account that has a similar identification of
“@BustaaReim” that is registered to “Nick Reimler” and references locations, events, and sports
in the Missouri area, including St. Louis. A copy of a screenshot of that social media account
“@BustaaReim” is provided below:




        Based on the foregoing, your affiant submits that there is probable cause to believe that
REIMLER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do; and (2) knowingly,
and with intent to impede or disrupt the orderly conduct of Government business or official
functions, engage in disorderly or disruptive conduct in, or within such proximity to, any restricted
building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderly conduct
of Government business or official functions; or attempts or conspires to do so. For purposes of
Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise
restricted area of a building or grounds where the President or other person protected by the Secret
Service, including the Vice President, is or will be temporarily visiting; or any building or grounds
so restricted in conjunction with an event designated as a special event of national significance.




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        Your affiant submits there is also probable cause to believe that REIMLER violated 40
U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                      _________________________________
                                                      Christopher Keefe, Special Agent
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 5th day of February 2021.

                                                                        Digitally signed by G.
                                                                        Michael Harvey
                                                                        Date: 2021.02.05 18:04:39
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                                                      ___________________________________
                                                      G. MICHAEL HARVEY
                                                      U.S. MAGISTRATE JUDGE




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